
GREEN, J.
delivered the opinion of the court.
The plaintiff in error was indicted and- has been convicted of murder, and condemned to be hung. From this judgment a writ of error has been prosecuted to this court.
The first error is, that the record does not show where the court, by whom-the indictment was -taken, was holden. It commences:
“State of Tennessee, Stewart County, Monday, October 2.6, 1846. Court met according to adjournment, present and presiding the Hon. Mortimer A. Martin, Judge, &amp;c., of the seventh judicial circuit, for the State of Tennessee.”
This is the entire caption of the record, and from this statement, we cannot see that the court, by -whom the indictment was taken, was holden at the court house, in Stewart county, where, by law, it is required to be holden.
This we hold, it is essential, the record should show. The judge would have no jurisdiction toempannel a jury, and take an indictment, at a different'place from that, at which the law requires his court shall be holden. He must, therefore, certify in his record, that the court was holden at the court house in the county of Stewart. This is not done, and the omission is fatal, and the judgment must be arrested.
Reverse the judgment, and remand the prisoner to Stewart county to be proceeded against.
